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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                  ORLANDO DIVISION


   UNITED STATES OF AMERICA and
   BARBARA BERNIER,

                      Plaintiffs,
                                                        Case No. 6:16-cv-00970-ORL-RBD-TBS
            v.

   INFILAW CORPORATION and
   CHARLOTTE SCHOOL OF LAW, LLC,

                      Defendants.


                JOINT MOTION TO ALLOW COUNSEL TO CONFER
            TELEPHONICALLY FOR CASE MANAGEMENT CONFERENCE
            Plaintiff-Relator, Barbara Bernier, and Defendants, InfiLaw Corporation and

   Charlotte School of Law, LLC (hereafter “Defendants”), by and through their undersigned

   counsel, hereby jointly move this Court to allow counsel to confer telephonically in place

   of an in person meeting for the purposes of conducting the case management conference,

   and, in support thereof, state as follows:

            1.    On September 25, 2017, the Court issued its Related Case Order and Track

   Two Notice (Doc. 32). Pursuant to that Order and M.D. Fla. R. 3.05(c)(2)(B), the deadline

   for counsel to conduct a case management conference in person is October 2, 2017.

            2.    Given that counsel for Plaintiff-Relator is located in Orland Florida, and

   lead counsel for Defendants InfiLaw Corporation and Charlotte School of Law, LLC is

   located in Washington D.C., in the interests of judicial efficiency and administration, the

   undersigned respectfully request an order allowing counsel to confer via telephone for the

   purposes of conducting the case management conference.

            3.    Should the Court allow the parties to meet telephonically, the parties will

   promptly confer and file their case management report as required by the Court’s Related



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                     Case Order and Track Two Notice (Doc. 32).

                              WHEREFORE, it is respectfully requested that this Court enter an order allowing

                     counsel to meet telephonically for purposes of conducting the case management

                     conference.

                                                     Rule 3.01(g) Certification

                              The undersigned counsel for Defendants certifies that, pursuant to Local Rule

                     3.01(g), he has conferred with all counsel of record in this action and has been advised that

                     there are no objections to the relief requested in this motion.


                     Respectfully submitted,


                     /s/ Coleman W. Watson                           /s/ Vincent A. Citro
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